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 6                                   UNITED STATES DISTRICT COURT
 7                                          DISTRICT OF NEVADA
 8                                                   *****
 9     UNITED STATES OF AMERICA,                        )
                                                        ) Case no. 3:12-CR-00074-LRH-VPC-1
10                                    Plaintiff,        )
       vs.                                              ) USM No. 75624-308
11                                                      )
       CATHERINE MARIA RAINS,                           )               ORDER
12                                                      )
                                      Defendant.        )
13                                                      )
       Dated of Original Judgment: 09-13-2013           ) Defendant’s Attorney:
14     Date of Previous Amended Judgment: n/a           )     Nisha Brooks-Whittington
                                                        )
15
16            Upon motion of the Defendant and stipulation between the Defendant and the
17     Government for a sentence reduction pursuant to Title 18 U.S.C. § 3582(c)(2) for a reduction in
18     the term of imprisonment imposed based on a guideline sentencing range that has subsequently
19     been lowered and made retroactive by the United States Sentencing Commission pursuant to
20     Title 28 U.S.C. § 994(u), and having considered such motion, and taking into account the policy
21     statement set forth at United States Sentencing Guideline ¶ 1B1.10 and the sentencing factors set
22     forth in Title 18 U.S.C. § 3553(a), to the extent they are applicable,
23            IT IS ORDERED that the motion is GRANTED and the defendant’s previously imposed
24     sentence of imprisonment of sixty-three (63) months is reduced to fifty-one (51) months. This
25     modification shall not become effective until November 1, 2015.
26            Except as otherwise provided, all provisions of the judgment dated September 13, 2013,
27     shall remain in effect.
28            IT IS SO ORDERED.
              DATED this 30th day of March, 2015.
                                                             _______________________________
                                                             LARRY R. HICKS
                                                             UNITED STATES DISTRICT JUDGE
